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16                                  UNITED STATES DISTRICT COURT
17                                           DISTRICT OF ARIZONA
18   Victor Parsons; Shawn Jensen; Stephen Swartz;           No. CV 12-00601-PHX-NVW
     Dustin Brislan; Sonia Rodriguez; Christina               (MEA)
19   Verduzco; Jackie Thomas; Jeremy Smith; Robert
     Gamez; Maryanne Chisholm; Desiree Licci; Joseph
20   Hefner; Joshua Polson; and Charlotte Wells, on              DECLARATION OF PABLO
     behalf of themselves and all others similarly               STEWART, M.D.
21   situated; and Arizona Center for Disability Law,
22                             Plaintiffs,
23           v.
24   Charles Ryan, Director, Arizona Department of
     Corrections; and Richard Pratt, Interim Division
25   Director, Division of Health Services, Arizona
     Department of Corrections, in their official
26   capacities,
27                             Defendants.
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 1           I, Pablo Stewart, M.D., declare:
 2           1.       I am a licensed and board-certified psychiatrist and a Clinical Professor in
 3   the Department of Psychiatry at the University of California, San Francisco School of
 4   Medicine.
 5           2.       I have been retained by counsel for the plaintiff class to provide an opinion
 6   on the mental health care provided to prisoners confined in the Arizona Department of
 7   Corrections (ADC).
 8           3.       I conducted inspection tours of the following seven ADC prison complexes:
 9   ASPC-Tucson (July 8-9, 2013); ASPC-Florence (July 15, 2013); ASPC-Eyman (July 16,
10   2013); ASPC-Perryville (July 18, 2013); ASPC-Phoenix (July 19, 2013); ASPC-Lewis
11   (July 22, 2013); and ASPC-Yuma (July 23, 2013).
12           4.       During my inspection tours, I viewed cells and other housing areas, mental
13   health treatment spaces, mental health programming areas, exercise enclosures, and other
14   areas to which prisoners have access.          I also conducted cell front interviews with
15   prisoners, and conducted interviews with some prisoners in a private setting. I also
16   reviewed prisoner medical records.
17           5.       The prisoners I interviewed, and whose records I reviewed, were selected in
18   two primary ways. First, at my request, Plaintiffs’ counsel compiled lists of prisoners
19   who had mental health needs, and I attempted to interview those prisoners. However, I
20   was unable to interview many of these prisoners or review their records because they had
21   been transferred to other institutions, were not in their housing unit at the time of my visit,
22   or were unavailable for other reasons.
23           6.       Second, as I walked through the units, I approached prisoners in their cells,
24   introduced myself, and asked if they were receiving mental health care and if they would
25   be willing to speak with me. I then asked to review these prisoners’ records. This method
26   avoids selection bias because in most cases I had no information about the prisoner’s
27   mental health status when I approached him or her.             The majority of prisoners I
28   interviewed were selected by me in this way.

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 1           7.       I understand that defendants in this case have criticized me because I did not
 2   select the prisoners I interviewed and whose records I reviewed using a pure random
 3   sampling method. However, random sampling would not be useful or appropriate for the
 4   task I was given in this case.
 5           8.       It would make no sense to do a pure random sample of the entire ADC
 6   prison population. Since my task is to evaluate the treatment of prisoners who need
 7   mental health services, it would be needlessly time-consuming and expensive to interview
 8   and review the records of prisoners who have no mental health needs.
 9           9.       I have evaluated mental health care in numerous prisons, jails, and juvenile
10   facilities, including the entire California and New Mexico prison systems, the Maricopa
11   County Jails, and the San Francisco County Jails. In none of these evaluations have I used
12   pure random sampling, which is not the standard in the field of correctional mental health
13   care.
14           10.      In formulating my opinions in this case I have relied on a multitude of
15   sources of information in addition to prisoner interviews and record reviews. I have relied
16   on the MGAR reports, which I understand to be reports produced by ADC staff to monitor
17   Corizon’s provision of health care under its contract with ADC.              I have reviewed
18   psychological autopsies, mortality reviews, and other documents pertaining to ADC
19   prisoners who committed suicide. I have reviewed large numbers of ADC policies, as
20   well as depositions of ADC staff, Corizon staff, and others. A complete list of the
21   documents I reviewed is set forth in the appendices to my reports attached hereto. While
22   these documents were provided to me by Plaintiffs’ counsel, they were given to me in
23   response to my requests to counsel for specific categories of relevant documents—for
24   example, documents showing the temperatures to which prisoners taking psychotropic
25   medications are exposed.
26           11.      When reviewing prisoner medical records at a given facility, I did not limit
27   my review to mental health care the prisoner had received at that facility. Whenever
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25                                         Wells, on behalf of themselves and all others
                                           similarly situated
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 1                                   CERTIFICATE OF SERVICE
 2           I hereby certify that on June 18, 2014, I electronically transmitted the above

 3   document to the Clerk’s Office using the CM/ECF System for filing and transmittal of a

 4   Notice of Electronic Filing to the following CM/ECF registrants:

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